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      SO ORDERED.

     SIGNED this 28 day of August, 2018.




                                                                     ____________________________________
                                                                     David M. Warren
                                                                     United States Bankruptcy Judge

      ______________________________________________________________________

                                    UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                            RALEIGH DIVISION

 IN RE:
 JUDY HARRISON TILLERY-BUGGS
                                                          CASE NO. 17-04230-5-DMW
 Soc.Sec.No.: xxx-xx-7771                                 CHAPTER 13
 Mailing Address: Post Office Box 774
 Rocky Mount, NC 27802


                                                DEBTOR

                                                CONSENT ORDER

UPON THE TRUSTEE'S MOTION TO DISMISS dated 7/2/18, and with the consent of the Trustee
and the Debtor, upon due consideration of the Court,

IT IS ORDERED that said motion be denied.

HOWEVER, IT IS ALSO ORDERED that the following conditions shall apply:

The Debtor shall resume making her “regular” monthly Chapter 13 plan payments of $627.00 per month,
starting with the payment due on 7/1/18. In the event that the Debtor fails to make any regular payment
within 30 days after the date that it is due, this case shall be deemed immediately dismissed, upon
notification by the Trustee to the Court, without the need for the Trustee to reapply to the Court. This
“drop dead” provision shall terminate after 7 months (That is, it shall apply to payments starting on 7/1/18
and continuing to and including the payment due on 1/1/19).

In addition to resuming regular plan payments, the Debtor shall make an extra payment to the Chapter 13
Trustee in the amount of $280.00 per month for a total of 6 extra payments, starting with the payment due
on 8/1/18 and continuing to and including the payment due on 1/1/19. In the event that the Debtor fails to
make any such payment within 30 days after the date that it is due, this case shall be deemed immediately
dismissed, without further hearing or order, upon notification by the Trustee to the Court.


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We consent to the entry of this order.

 s/ Shawn Orcutt
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 s/ John F. Logan, Trustee
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Chapter 13 Trustee
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